             UNITED STATES DISTRICT COURT FOR THE
                                                        ___      .fllED         ,OOEliD
                       DISTRICT OF MARYLAND             --       ,l~~D          ,~crMD



UNITED STATES OF AMERICA
               Plaintiff,



vs.                                              CASE NUMBER RDB-06-0309



JAMES DINKINS
                    Petitioner.



                           MOTION TO APPOINT COUNSEL



      Pursuant   to Title 18 U.S.C. S3006(A),      Petitioner             Dinkins,

respectfully     request    that the honorable    court appoint counsel                to

represnt him in litigating        Motion For Reduced      Sentence under

Section 404(b) of the First Step Act, in light of Congress,                          thro-
ugh the First Step Act, has now made the decision                that the Court
can reduce Petitioner         Sentence.   Petitioner    submits       that his
sentence guideline      range was significantly        enhanced based on the
Court's determination        that an offen~e involving         50 grams or more
of crack cocaine triggered a 10-year mandatory                minimum and stat-

utory maximum penalty of life imprisonment.              Section 2 of the FSA
amended S84l (b)(l)(A)(iii)        by striking    50 grams and inserting
280 grams and amended S84l (b)(l)(B)(iii)           by striking            5 grams


                                     1.
and inserting     28 grams.       Public Law 111-220;       124 Stat. 2379, S2.

Accordingly,     after the FSA it takes 280 grams of crack to trigger

S841 (b)(l)(A)(iii)'s       10-year mandatory       minimum      and 28 grams     of

crack to trigger       S841(b)(1)(B)(iii)'s       5-year mandatory         minimum.

The Supreme Court determined          th FSA applied       to any defendant      who

had not been sentenced        as of the Act's effective           date, August    3,

2010.     Id at 281.     The FSA did not apply retroactive            to defendan-

ts sentence     prior to August      3, 2010.     Id.     Accordingly,      Petition-

er submits     that his request      to appoint    counsel    to litigating      on

Motion For Reduced       Sentence    under Section      404(b) of the First Step

Act is not wholly without          merit and his request         for appointed

counsel   is warranted.

   Given the complexity          of Petitioner    case in which      to properly

file FSA claims,       failure    to appoint    counsel    could deprive      Petitio~

ner of the opportunity        to seek meaningful        review    of his sentence.

   WHEREFORE,     Dinkins        , respectfully    request    that the Court

appoint   counsel   to review his claim for relief,              pursuant    to the

First Step Act.

   Petitioner    has been informed          that the Federal      Public    Defendant

Office will accept       the appointment       in this case if appointed         by

the Court.

                                                    Respectfully      Submitted,


                                                    Jb4nfd~
                                                    Reg. No.05235-748




                                       2.
                        CERTICATE OF SERVICE
   I hereby certify    that on this      W    day of      f'\flj__      ,   2019,
a true and correct    copy of the foregoing was mailed        to the Clerk
of the Court for the Dostrict        Court District    of Maryland   to the
following:

United States Attorney     Office
For Balimore   Maryland.



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                                                 I
                                                James Dinkins




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